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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                        CR 17-65-BLG-SPW-TJC

                     Plaintiff,
                                                  ORDER
 vs.

 RAYMOND EDWARD SCHACHT,

                     Defendant.

       On January 3rd, 2018, the Court entered an Order Setting Change of Plea

Hearing (Doc. 41), which set the date for Defendant’s change of plea hearing on

January 8, 2017. The correct date is January 8, 2018. The Court’s Order shall

remain in effect in all other respects.

       DATED this 4th day of January, 2018.



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                                          TIMOTHY J. CAVAN
                                          United States Magistrate Judge
